    Case 1:12-cr-00323-WSD-CMS Document 29-1 Filed 03/15/13 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA             :
                                     :     CRIMINAL ACTION
            v.                       :
                                     :     NO. 1:12-CR-323-WSD-ECS
EDWARD K. KIM,                       :
                                     :
                   Defendant.        :

           FINAL ORDER AND JUDGMENT OF FORFEITURE

      This matter is before the Court on the Government’s Motion for Final Order

of Forfeiture for property seized from Defendant Edward K. Kim. The Court

entered the Consent Preliminary Order of Forfeiture on January 3, 2013 [Doc. 18],

forfeiting the following property to the United States pursuant to 18 U.S.C.

§ 924(d) and 28 U.S.C. § 2461(c):

      a.    .38 caliber Smith & Wesson revolver, serial no. D328969;

      b.    Assorted ammunition.

      The United States published notice of the forfeiture action on the official

Government Internet site www.forfeiture.gov for at least 30 consecutive days. The

United States also sent a notice to Samuel Conder, and he filed a third-party

petition to the firearm and ammunition.      The United States recognized Mr.
    Case 1:12-cr-00323-WSD-CMS Document 29-1 Filed 03/15/13 Page 2 of 2




Conder’s interest in the firearm and ammunition and consented to the release of the

assets at the conclusion of the ancillary proceeding.

      This Court having found that the interest of Samuel Conder to the firearm

and ammunition is superior to the Government’s interest in said property, it is

hereby ORDERED, ADJUDGED AND DECREED that:

      1.     The Consent Preliminary Order of Forfeiture is amended as follows:

             the firearm identified as one .38 caliber Smith & Wesson revolver,

             serial no. D328969, and the assorted ammunition shall be released to

             Samuel Conder.

      2.     The United States District Court shall retain jurisdiction in this case

             for the purpose of enforcing this Order.

      SO ORDERED this             day of         , 2013.


                                       __________________________
                                       WILLIAM S. DUFFEY, JR.
                                       UNITED STATES DISTRICT JUDGE
Presented by:

/s/ Dahil D. Goss
DAHIL D. GOSS
ASSISTANT U.S. ATTORNEY




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